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1
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3     San Diego, California 92123
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4
      chrisr@prato-reichman.com
5

6
      Attorney for Plaintiff
      PAUL SAPAN
7

8                              UNITED STATES DISTRICT COURT
9
                             CENTRAL DISTRICT OF CALIFORNIA
10
                                         SOUTHERN DIVISION
11
       PAUL SAPAN,                                            Case No: 8:18-cv-00787-DOC-KES
12

13
                       Plaintiff,
14             vs.                                            NOTICE OF SETTLEMENT
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16
       APEX TAX RESOLUTION, LLC a/k/a
       APEX STUDENT LOAN SERVICES,
17
       also a/k/a FIDELITY TAX RELIEF and
18     FIDELITYTAXRELIEF.COM, a
19     California Limited Liability Company,
       MAYADA ABDULLAH, an individual,
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       and GAZI ABDULLAH, an individual,
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22                     Defendants.                            Judge: Hon. David O. Carter
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                                              Notice of Settlement
     Case 8:18-cv-00787-DOC-KES Document 36 Filed 09/11/19 Page 2 of 3 Page ID #:125




1
              Comes now Plaintiff PAUL SAPAN, to notify the Court pursuant to Local
2     Rule 16-15.7 that the parties have reached settlement of the material issues in
3
      dispute in the above captioned case and plan file a Joint Motion To Dismiss The
4

5     Entire Case With Prejudice within thirty (30) days from today. The Parties will
6
      file a request for dismissal with prejudice upon final settlement.
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9
      DATED: September 11, 2019                               PRATO & REICHMAN, APC
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12
                                                              _/s/ Christopher J. Reichman_______
13                                                            By: Christopher J. Reichman, Esq.
14                                                            Prato & Reichman APC
                                                              Attorneys for Plaintiff
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                                                              PAUL SAPAN
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                                              Notice of Settlement
     Case 8:18-cv-00787-DOC-KES Document 36 Filed 09/11/19 Page 3 of 3 Page ID #:126




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                                      CERTIFICATE OF SERVICE
2     I hereby certify that the above and foregoing instrument was served upon all
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      counsel of record in the above entitled and numbered cause on the date below.
4

5

6     __X__ Via ECF
7

8     Omar Sharif, Esq.
9     Tumer & Sharif
      170 E. 17th Street, Suite 208
10
      Costa Mesa, CA 92627
11

12

13    DATED: September 11, 2019                               PRATO & REICHMAN, APC
14

15

16                                                            _/s/ Christopher J. Reichman_______
                                                              By: Christopher J. Reichman, Esq.
17
                                                              Prato & Reichman APC
18                                                            Attorneys for Plaintiff
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                                                              PAUL SAPAN

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                                              Notice of Settlement
